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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig * MDL No. 2179

“Deepwater Horizon” in the Gulf

of Mexico, on April 20, 2010 7 SECTION “J”
Applies to: * JUDGE BARBIER
10-02771 * MAGISTRATE SHUSHAN

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MEMORANDUM IN SUPPORT OF
MOTION FOR ATTORNEY’S FEES AND COSTS

MAY IT PLEASE THE COURT:

Now into court, through undersigned counsel, comes the movers, Doucet-Speer, A
Professional Law Corporation and Leake & Anderson, LLP who in support of the Motion
for Attorney’s Fees and Costs submits this Memorandum in support thereof:

FACTS:

On April 20, 2010, the defendants in the aforesaid matter, British Petroleum and/or
Deepwater Horizon caused and/or were responsible for a major oil spill/disaster in the Gulf
of Mexico which adversely impacted residents of the Gulf Coast, including clients of the
movers herein and as is the cause in the above referenced matter.

On July 22, 2010, Henry Michael Nunmaker, III, individually and on behalf of
Nunmaker Yachts, Inc., retained the services of the mover, Doucet-Speer, APLC, through
a contingency fee agreement which entailed contingency fees ranging from a low of twenty
five percent to a high of thirty-three and one third percent. The aforesaid contract is subject
to this court’s order capping individual attorney’s fees at twenty five percent.

Subject to execution of the contract between the client, Nunmaker, and Doucet-Speer,
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APLC, extensive legal services were performed for the client by mover which entailed
initially filing the appropriate claims with the GCCF, including the accumulation of financial
records, submission of evidence to GCCF, extensive communication with GCCF as well as
the client together with the retention of expert economist to facilitate the claim of Nunmaker.
From the time of the initial contract between mover and client, no fees were paid to mover
and no costs were reimbursed despite the fact that client received a wire transfer of a
preliminary payment early in the claims process.

With the express written consent of the client, the mover herein retained co-counsel,
Leake & Anderson, LLP to work under the same terms of the contingency contract executed
between client and Doucet-Speer on April 14, 2011. By the end of the claims process
maintained by the GCCF, a final offer was made to client through undersigned counsel,
which was summarily rejected by the client, Nunmaker.

Thereafter, extensive legal services was provided by the movers herein both
individually and through expert witnesses retained on behalf of the client through both
Doucet-Speer, APLC and Leake & Anderson, LLP in the accurate and most beneficial claim
possible that could be made on behalf of the client, Nunmaker. After all calculations had
been made and the claim was ready to be submitted to the claims administrator, including an
independent review of the calculations by an expert working on behalf of the client,
Nunmaker, personally, a settlement package was submitted to the client on September 26,
2012 requesting his written consent for the submission of the aforesaid claim. On the same

date that the settlement package was federal expressed to the client for approval, the client,
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Henry Michael Nunmaker, III, individually and on behalf of Nunmaker Yachts, Inc.,
terminated the services of movers herein without prior notice or just cause. The only reason
provided to undersigned counsel was a correspondence from a new law firm which alleged
a violation of the rules of professional conduct, namely rule 1.6, presumably because Doucet-
Speer retained Leake & Anderson to assist in this claim, As indicated previously, Leake &
Anderson was only retained after having received written authorization from the client,
Nunmaker, in advance.

To date, a third party claim has been submitted on behalf of movers to the Deepwater
Horizon Claims Center, Economic and Property Damage Claims, and an acknowledgment
of receipt of attempted third party claim was received on November 20, 2012.

LAW AND ARGUMENT:

Pursuant to this court’s order of September 11, 2012, this court maintains exclusive
jurisdiction under section 18.1 of the economic and property damages settlement agreement
and therefore this court is the appropriate venue for this motion for attorney’s fees and costs.
Pursuant to the process for third party claims to be administrated by the claims administrator,
third party claimants are required to file those pleadings, orders, garnishments or documents
of whatever type that are applicable under state and federal laws to enforce a valid third party
claim against an affected claimants settlement payment before the affected claimant receives
such a settlement payment. Pursuant to the order of this court and the process approved for
the submission of third party claims, this motion for attorney’s fees and costs is the
appropriate pleading to be filed under Federal Rule of Civil Procedure 54d. Further, this

motion for attorney’s fees and costs, along with this memorandum in support thereof is being
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served upon the claimant/client, Nummaker, as well as the third party claims administrator,
Patrick A. Juneau, on behalf of Deepwater Horizon Economic Claims Center pursuant to this
court’s order approving the processing of third party claims

Movers herein have performed extensive legal services over a period exceeding two
years, have incurred substantial costs, including but not limited to expert fees both through
the mover, Doucet-Speer, APLC, and it’s expert, Mr. John Theriot, as well as experts
retained on behalf of Leake & Anderson, LLP, Mr. Thomas M. Guinan, Jr.

Pursuant to this court’s order of September 11, 2012, movers herein make claim for
attorney’s fees at the statutory cap of twenty five percent of any and all recoveries, plus costs,
which are made to Henry Michael Nunmaker, II] individually and/or on behalf of Nunmaker
Yachts, Inc. As of the date of termination by the client/claimant, Nunmaker, the total claim
made on behalf of the claimant by movers herein equaled one million two-hundred ten
thousand four hundred eighty six dollars ($1,210,486.00) plus expert fees and costs of these
proceedings. Movers herein respectfully move for an award of twenty five percent of any

and all claims made payable to Henry Michael Nunmaker, III individually or on behalf of
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Nunmaker Yachts, Inc. not to exceed twenty five percent of the final claim amount of one

million two-hundred ten thousand four hundred eighty six dollars calculated by movers and

their experts on behalf of claimant, Nunmaker, plus all expert fees and associated costs.

PLEASE SERVE:

PATRICK JUNEAU

Claims Administrator

Deepwater Horizon Economic Claims Center
P.O. Box 1439

Hammond, LA 70404-1439

Attention: Third Party Claims Documents

Via Email: thirdpartyclaims@dhecc.com

HENRY MICHAEL NUNMAKER, III
NUNMAKER YACHTS, INC.
Through their attorney of record
LEWIS S. KAHN

Kahn, Swick & Foti, LLC

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Respectfully submitted,

DOUCET-SPEER, APLC
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s/ Jeffery F. Speer

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s/ Patrick M. Wartelle

PATRICK M. WARTELLE (#14484)
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CERTIFICATE OF SERVICE
This will certify that a copy of the foregoing pleading(s) has been served on
all parties to this proceeding by placing same in the U.S. Mail, properly addressed and

postage pre-paid on this 28" day of December, 2012.

s/ Jeffery F. Speer

JEFFERY F. SPEER
